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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT O F FLO RIDA
                                    M IAM I DIV ISIO N

                    C A SE N O .: 17-23158-C IV -M A R TlN EZ-O TA ZO -% Y ES

 LA SH A W N M ID DLETON ,
       Plaintiff                                                                I
                                                                                zluEnsy pG nc.        .




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                                                                                   0:T 23 2218
                                                                                 SAEVEN M LARiMORE
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                                                                                    r'RK U s oss'r c'
                                                                                                    r
 CARNIVAL CORPORATION ,                                                           s b afFtm,-MI
                                                                                              AMI
       D efendant




                   PLA INTIFF'S O PPO SITIO N TO M O TIO N FO R SU M M A R Y
                   JUD G M EN T A N D SU PPO R TIN G M EM O M N D UM O F L A W

       ThePlaintiff,LA SHA W N M IDDLETON ,respectfullyopposesDefendant,CARNIVAL

 COR POM TION d/b/a CA RN IV A L CRU ISE LIN E'S M otion forSum m ary Judgem entand

 Supporting M em orandum ofLaw .




          Thismaritimepersonalinjury actionarisesfrom aslip & fallaccidentthatoccurredwhen
   PlaintiffwasapassengeraboardtheCarnivalFantasy.ThePlaintiffsustainedmultipleinjurieson
   A ugust 19,2016 after falling dow n a staim ay head firstwhile aboard the CarnivalFantasy due to

   negligenceoftheDefendantto maintain and repairthestepsin thedefectivestairway in which she

   was standing in atthe time ofthe incident.The staim ay had m ultiple stairs with loose m etal

   nOSing's.

          The Plaintiffcnnnotidentify the exactspecitic step on which she w as standing atthe tim e

   ofthe incidentdue to theTraumaticBrain lnjury and lossofconsciousnessthatshe sustained
   because ofthe incident.
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          Plaintiffcouldnothavebeen awareofany defectson the stairswhilestanding stillwithno

   room formovementtoherleftorright,back orfrontwhilein an overcrowded stairway foratleast

   15 m ins.TheJubilee dining hallwasnmning behind schedule,so everyone who was scheduled

   forthe 8pm dinner w as detained in the stairways including the stairw ay she w as on and also the

   onesabove and beneath her.Plaintifffearfully returned to the scene ofherfalltwo dayslateronce

   she wasm orem obile and aw are forunderstanding ofheraccident.H erw itnesspreviously returned

   to help herunderstand how shecould have fallen atthetim eofthe incident.Thewitnessnoticed

   the loose nosing's on the stairs.

          W hether the Plaintiff can give accountof the exactstairthat she fellfrom after her heel

   wascaughtintheloosemetalnosingornotisn'ttheissue(ltwasclosetothetop).Theissueand
   factrem ains stillis thatshe fellon the negligence ofthe cruise ship because ofthe loose m etal

   nosing.



                                U N D ISPU TED M A TER IA L FAC TS

                  D efendantCarnivaloperated the CarnivalFantasy atal1tim esm aterialhereto.

                  O n A ugust 19,2016,Plaintiff,LA SH A W N M ID D LETON ,was a fare-paying

   passengeraboutthe vesselCnrnivalFA N TA SY .

                  Plaintifffellhead tirstwhile descending a stairway dueto an improperly

   maintainedm etalnosing on thestep on which shewasstanding on orthenextone

   because therewerem ultipleloosenosing'son thestairs.She regained consciousnessin

   the ship'sinfirm ary.

                  Plaintiffw asstanding on the staircase forabout 15 m inutesw aiting to enterthe

   JubileeDining Hallrestaurantfordinnerwith no room formovementto herleftorrightwhile in

   an overcrow ded staim ay foratleast 15 m insw hich w as also a tire hazard.

                  Plaintiffcnnnotrem em berhow m any steps from the top ofthe staircase shehad
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   descendedduetolossofconsciousnessandtheTraumaticBrainlnjury sustained.

    W H Y SH O ULD PLAINTIFF BE PENALIZED FO R TELLING THE TRUTH NO T

     n OW ING THE EX ACT STEP IF M ULTIPLE STEPS W ERE DEFECTIVE??

                 Two daysafterherfall,M s.M iddleton fearfullyreturned to thestaircase and

   foundmultipleloosem etalnosing'son the stairsone ofwhich shewasstanding on pexher

   witnesses.

                 A slip and fallaccidentlike the one thatPlaintiffsustained w as very

   serious and could've leh herparalyzed ordeceased.

          8.     Plaintiffhadextensiverecoverytimeandhasstilllifealteringinjuriesshe's
   recovering from .

          9.     Plaintifflosttime from work,herbusinessesand sodaladivities.

          10.    Plaintifflostqualityoflife and lossofqualitytime with fam ily and friends.
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                                  M EM O R A ND U M O F LA W


         A.     SUM M A R Y JUD G M EN T STAN D A RD

         FederalRule ofCivilProcedure 56 provides,lçsummaryjudgmentisappropriate where
   thereçisnogenuineissueastoanymaterialfact'andthemovingpartyisCentitledtojudgmentas
   amatterof1aw.'''SeeAlabamav.NLCarolina,130S.Ct.2295,2308(2010)(quotingFed.R.Civ.
   P.56(a)).The existenceofsome factualdisputesbetween litigantswillnotdefeatan otherwise
   properlygroundmotionforsllmmaryjudgment;ittherequirementisthattherebenogenuineissue
   ofmaterialfact.''Andersonv.Liberty Lobby,lnc.,477 U.S.242,248(1986)(emphasisadded).
   M ereççm etaphysicaldoubtasto thematerialfacts''willnotsuftice.M atsushita Elec.Indus.Co.v.

   ZenithRadioCorp.,475U.S.574,587(1986).
 PLM NTIFF OPPO SES DEFENDANT'S M OTION BECAUSE TH ERE ARE M ATERIAL

 FACTS OF NEGLIG ENCE AND INJURIES SUSTAINED O N BEH ALF O F TH E CRUISE

 LINZ THE SHIP'SINFIRM ARY RECORDS ASW ELL AS ALL OF THE PLM NTIFF'S
 M EDICAL BILLS,LOST W AGES,QUALITY OF LIFE AND W ITNESSESPROVE THIS.
         B.      G EN ER AL M A RITIM E LA W G O V ER NS TH E PR ESEN T A CTIO N

         The generalm aritim elaw providesthesubstantivelaw ofthiscasebecausethealleged tort

   occurredupon navigablewatersandbearsasigniticantrelationshiptotraditionalm aritim eactivity.

   SeeExecutiveJetAviation,Inc.v.City ofcleveland,409U.S.249 (1972);ForemostIns.Co.
   Richardson,457U.S.668(1982),reh'
                                  g denied,459 U.S.899 (1982);Sisson v.Ruby,497 U.S.
   358(1990).ltiswell-establishedthatthegeneralmaritimelaw oftheUnited Statesgovernssuits
   asserted by passengersagainstcruise lines.Keefev.Bahama CruiseLine,Inc.,867 F.2d 1318
   (11thCir.1989).

     cruise ship operator owes its passengers the duty to exercise reasonable care tmder the

   circum stances.Kerm arec,358 U .S.at630,79 S.Ct.at410-
                                                        ,Everettv.CarnivalCruise Lines, lnc.,
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   9l2F.2d 1355,1358(11thCir.1990);Keefe,867F.2dat1322.Theshipoperatorisnot,however,
   an instlrerto itspassengers'
                              ,itis liable only for itsnegligence.Keefe,at 1322.The cruise ship

   operatox is not the insurer of the safety of the passengers and does not becom e liable m erely

   becausean accidentoccurs.fuby v.CarnivalCruiseLines,Inc.,633F.supp.40,n.1(S.D.Fla.
   1986).
          Underfederalm aritim e law ,thiscourtrelieson ''generalprinciplesofnegligence law ,''and

   requires the Plaintiff make outthe fnmiliarfourelem entsof negligence.Chaparro v.Carnival

   Corp.,693 F.3d 1333,1336 (11th Cir.2012).A plaintiffin anegligence action shouldersthe
   burden ofproving each ofthe following:(1)the defendantowed the plaintiffa duty;(2)the
   defendantbreachedthatduty;(3)thedefendant'sbreach wastheproximatecauseof
   theplaintiffsiniuries;and(4)theplaintiffsuffereddamages.Wienerv.CarnivalCorp.,2012

   U.S.Dist.LEXIS 151395,at*6,CaseNo.11-22516(S.D.Fla.Oct.22,2012)(emphasisadded).
   Failureto establish any oneoftheseelementsisfataltothePlaintiffscase.Hasenfusv.Secord,
   962F.2d 1556,1560(11thCir.l992)(citingGoodingv.UniversityHospitalBldg.,Inc.,445So.2d
   10l5,1018 (Fla.1984)).A failure ofproofconcerning any essentialelementofthe nonmoving
   party'scase necessarily renders allotherfacts im m aterial.Celotex Corp.,477 U .S.at323.

   PLM NTIFF OPPO SES DEFENDANT'S M OTION BECAUSE TH ERE IS NEGLIGENCE

   IN TH IS CASE - LO OSE M ETAL NO SINGS IN TIIE OVERCROW DED STM RW AY

   W H ERE THE PLM NTIFF W AS DETM NED BECAUSE OF SHIP'S DINING HALL

   UNTIM ELINESS. NEGLIGENCE BEGAN W HEN PASSENGERS W ERE M ADE TO

   STAND IN THE O VERCROW DED STAIRW AYS AND H AI,LW AYS OF TH E SH IP

   W AITING TO ENTER TH E JUBILEE DINING HALL.M 'TER TH E FALL PLAINTIFF

   W AS GIVEN A SHO T & SEVERAI,DIFFERENT M EDICINES & GIFTS DURIN G THE

   REM AINDER O F THE CRUISE TH AT SHE W AS NOT ABLE TO ENJOY BECAUSE OF

   TIIE INJURIES TH AT W ERE SUSTAINED.                  The ship operator is not,however,an
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   insurerto itspassengers;ifisliah-
                                   lq pplv for itsneelieenee.Keefe.at1322.

           A.     TH ERE IS N O R EC O R D EVID EN CE O F PR O X IM A TE CA U SAT IO N.

           N egligence should notbe inferred from the ''m ere happening ofan accidentalone.''W ish

   v.MSC CrociereS.A.,No.07-60980,2008U.S.Dist.LEXIS 109072(S.D.Fla.Nov.24,2008)

   (citingBeldenv.Lynch,126So.2d578,581(Fla.Dist.Ct.App.1961)).Aninjuredpassengermustshow
   theallegednegligencewasanactualandproximatecauseoftheplaintiff'sinjury.Sorrelsv.NCL (Bahamas)
   Ltd.,796F.3d 1275,1280 (11th Cir.2015).W hentheevidencepresented doesnotcreateamaterialissue
   offactastocausation,whichisanessentialelementofthetortofnegligence,summaryjudgmentis
   appropriate.Fedorczykv.CaribbeanCruiseLines,Ltd,82 F.3d 69,74 (3dCir.1996)(affirming
   lowercourt'sgrantofcruiseline'smotion forstzmmaryjudgment).ThisCourt,on atleasttwo
   published occasions,concluded thatw here a nonm oving party is unable to offer any evidence to

   satisfy the proxim ate cause elem entof their negligence claim ,those claim s m ust fail.See John

   M orrellzfrCo.v.RoyalCaribbean Cruises,LTD.,534F.Supp.2d 1345,1353 (S.D.Fla.2008);
   seealsoLI>/dav.NorwegianCruiseLineLtd,93F.Supp.3d 1311,1325(S.D.Fla.2015).

           InJohn M orellzt Co.apassengerwasinjured whileengaged in ashoreexcursion.The
   courtgrantedthecnziseline'smotion forsummaryjudgmentsincethepassengerfailedtoproffer
   any evidencethatthecruise line'sfailure to warn wastheproximatecauseofhisinjuries.John
   M orrelldrC0,534 F.Supp.2d at 1353.A s in the presentm atter,M orrellw as unable to pointto

   any link between thecruiselinesaction andthesubsequentaccident,beyond m erespeculation.ld

   at21.

           Sim ilarly, in Lipkin, the plaintiff brought a negligence action against a cruise line for

   injuriessustainedwhiledisembarkingfrom acnziseship.Lipkin,93F.Supp.3dat1311.Thecourt
   heldthatsummaryjudgmentmustbegrantedin favorofthecruiselinebecausetheplaintiffhad
   failed toestablishthatthedefendant'snegligencewastheproximatecauseofhisinjuries.1d.at
   1325.Analogousto thepresentcase,Lipkin cited no record evidenceto show thata genuine issue
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   ofm aterialfactexisted asto proxim ate cause.1d.at l325

          ln a case very sim ilarto the instantm atter,Fedorczyk,aplaintiffslipped in thebatht'ub in

   her stateroom while aboard a cruise ship.Fedorczyk,82 F.3d at69.Fedorczyk alleged thatthe

   cnzise line's failure to provide an adequate num ber ofabrasive stripsin the bathtub w asthe

   proximatecauseofherinjuries.1d.at72.However,plaintifftestified shehadnorecollectionof
   whetherherfeetwere on thet'
                             ubsexistingabrasive stripsatthetim eofherfall.Id at72.

          The Third CircuitCourtofAppealsnoted thateven ifthere wasnegligence on thepartof

   the cruise line forhaving an insufficientnum ber ofadhesive stripsin the tub,astestified to by the

   plaintiffsexperq Fedorczyk wasunableto provethatany such negligenceofthecruiseline in fact

   caused herinjury.ld At74.BecauseM s.Fedorczyk could nottestify whethershewasstanding
   on one ofthe adhesive stripsthatwere present,shecould notrule outthe possibilityherfallwas

   caused by otheranothercause such asthe presence of soap and bath oil. Id

          TheThirdCircuitCourtofAppealsaffirmedthedistrictcourt'sgrantofsummaryjudgment
   in favor of a cruise line,holding that the plaintiff did not introduce evidence w hich provided a

   reasonable basis for the conclusion that it w as m ore likely than not thatthe alleged negligent

   conductofthedefendantwasacauseinfactoftheinjury.Id at74.Thecourtheld,causation isan
   essentialelementofanegligenceclaim stating,''themereshowingofanaccidentcausinginjtzries
   isnotsufticientfrom which to infernegligence,''and notedthatFedorczyk could havefallen inthe

   bathtub forreasonsotherthan RoyalCaribbean'snegligencef#.(citing Hansen v.Eagle-picher
   Lead Co.,84A.2d281,284 (N.J.1951)).
          ln the presentm atter,the alleged loose m etalnosing is analogous to the abrasive strips in

   Fedorczyk.Here,only som eofthe stepson the staircase allegedly had loosem etalnosing's.M s.

   M iddleton doesnotknow which step she wason atthe time ofherfalland cannotestablish that

   therewasaloosem etalnosing on the step on which shew asstanding atthetim eofthefall.Thus,

   shecnnnotprovethata loosemetalnosing wastheproximate causeofherinjuries.Therefore,
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    Plaintiff cannotprevailon her negligence claim because she cnnnotproffer any evidence of the

    Proximatecauseofherinjuries.
           O n the issue ofcausation,as with any other essentialelem entofnegligence,Plaintiff has

    theburdenofproof.Hasenfusv.Secord,962F.2dat1560.Ms.M iddleton'stestimonyisconsistent
    in confirm ing she cnnnotpointto which step shewasstanding on atthe time ofherfall,and she

    saw no defects in the stairs prior to her fall.A dditionally,she cnnnotestablish that there w as a

    defecton the acttzalstep on which she w as standing atthe tim e ofherfall,and therefore has failed

    to meetherburden in establishing thealleged negligenceofCnrnivalwastheproxim atecause of

    herfallbecause speculation cnnnotdefeatsummaryjudgment.Blackçton v.Shook drFletcher
    lnsulation Co.,764F.2d 1480,1482 (111 Cir.1985).
            Since M iddleton isunable to identify w hich step she w as standing on orhow she allegedly

    tripped,any perceived deficiencieswith some the steps ismere speculation and notsufticientto

    meetherburden.Therefore,summaryjudgmentinfavorofCarnivaliswarranted.

 PLAINTIFF O PPOSES DEFENDANT'S M O TION BECAUSE TIIERE W ERE SEVERAI,

 LO OSE M ETA L NO SG G S O N TIIE STAIRW AY IN W HICH TH E PLM N TIFF W AS

 STANDING.HER SH OES ARE TIIE EVIDENCE TH AT SH OW S TIIEY W ERE LO DGED

 IN THE LO OSE M ETAL NOSING AS W ELL AS THE PICTURES OF TH E LOO SE

 M ETAL NO SING S ON SEVERAI,STAIRS.PLM NTIFF SUSTAINED A TRAUM ATIC

 BR m    INJURY W H ICH IM PM RED H ER M EM O RY. CARNIVAL NEVER DISPUTED

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 THERE IS PROXIM ATE CAUSE PROXIM ATE AN adiectiveM EANING

1. next;nearest;im m ediately before or after in order,place,occurrence,etc.

2. close;very near.

3. approxim ate;fairly accurate.
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   E lem ents ofN egligence


             CarnivalCruiseLinehasadutytotakereasonablecareandm aintenanceoftheirships.

     To keep the prem ises safe fortheirpassengers.They m ustregularly inspecttheirproperty for

     unsafe conditions and either w arn passengers w ith signage of the property's faulty

     environm ents orrepairthem im m ediately forthe safety of everyone on board the ship.

             The stepsin the hallway/stairway leading to theJubilee Dining Hallwere faulty and

     there wasno signage to caution orm akethe passengersaw are.Failing to do so hasresulted in

      Plaintiffhaving a terribleslip & fallaccident.

             The show n w ear and tear and w eakened nosing's on the stairway where the Plaintiff

      was detained in an overcrow ded staim ay/hallway for an extended am ount of tim e are

     reasonably Carnival Cruise Line's negligence in this case. lf the stairway w as properly

     m aintained on a regularbasis the Plaintiff s shoe w ould have neverbeen caughtin the loose

     m etalnosing's w hich resulted in hertum bling down the stairs head firstw hich resulted in a

      TraumaticBrain lnjuryandvestibularissues,etc.

             Carnival Cruise Line's negligence of not having tlze stairs properly maintained

      required the Plaintiff to suffer an unnecessary accident only 3 hours into her cruise w hich

      resultedinhernotbeing abletoenjoythecruisethatspentmoneyon.Shesustainedmultiple
      lifealteringandchallenginginjtzries,adiminishedqualityoflife,diminishedtimewithfamily,
      friendsand socialactivities,lossofqualityoflife,and socialactivities.Plaintiffmissed outon

      otherpaid forcruises,events,activities,w ork,businessopportunities,pm nerships,acting gigs

      and speaking engagem ents and loss of clientele and sales in her incom e tax business for at

      least 6 m onths follow ing the accident which resulted in incom e loss.The client is now
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      responsible form edicalbillsbecausevariousm edicalfacilitiesand physiciansm ade self-pay

      agreem entspending paymentupon the settlem entofthislawsuit.Plaintiffhasbeen through a

      tum ultuous 2+ years since the accidentand stillhasa long w ay to go to before she willhave

      things alm ost back to how they w ere before the accident.Plaintiff should be com pensated

      fairly forallmentioned aboveincludingherfuturepain and suffering from theinjuriesthat
      were sustained and thathad and may haveto beendured.
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         W H EREFORE,Plaintiff,LA SHA W N M IDDLETON respectfully m ovesthisHonorable
         Courtforentry ofOpposition ofSumm ary Judgmentin itsfavor.

         Dated:October18,2018.
                                                  Respectfully subm itted,

                                                  Lashaw n M iddleton
                                                        Pro Se
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                                                         Sign ure

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